Case 1:21-cr-20185-DMM Document 1 Entered on FLSD Docket 03/26/2021 Page   1 of YH
                                                                    FILED by
                                                                                7                               D.C.



                                                                                              Mar 25, 2021
                             UNITED STATES DISTRICT COURT                                      ANGELA E. NOBLE
                                                                                              CLERK U.S. DIST. CT.
                             SOUTHERN DISTRICT OF FLORIDA                                     S. D. OF FLA. -MIAMI

               21-20185-CR-MIDDLEBROOKS/MCALILEY
                             CASE NO. _ __ _ __ _ __
                                      26 u.s.c. § 7206(2)



  UNITED STATES OF AMERICA

 v.

  SAMUEL MOMPOINT,

                        Defendant.
 - - - - - - - - - - - - -- I
                                            INDICTMENT

        The Grand Jury charges that:

                                   GENERAL ALLEGATIONS

        At all times relevant to this Indictment:

        1.      The Internal Revenue Service ("IRS") was an agency of the United States

 Department of Treasury responsible for enforcing and administering the tax laws of the United

 States, and collecting truces owed the United States.

        2.      The IRS allowed United States taxpayers to file their federal tax returns

 electronically ("e-file') by filing online directly or through a tax return preparation business.

        3. ·    The IRS permitted a tax return preparation business toe-file true returns utilizing an

 Electronic Filer Identification Number ("EFIN"). The EFIN was issued to a tax preparation

 business after it had completed the IRS e-file application to become an authorized IRS e-file

 provider and passed a suitability check.
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            4.    A tax return preparer that had an EFIN was required to comply with the rules and

 requirements of the IRS's e-file program. The IRS used the EFIN to identify the tax preparation

 business that e-filed a tax return.

            5.    The IRS required anyone who prepared or assisted in preparing federal tax returns

 for compensation to have a valid Preparer Tax Identification Number ("PTIN") before preparing

 returns.

            6.    The IRS Form 1040 was the standard form that individuals used to file their annual

 federal income tax returns. This form contained sections that required United States taxpayers to

 disclose their financial income and losses for the year in order to ascertain whether the taxpayer

 was due a tax refund or whether the taxpayer owed additional taxes.

            7.    IRS Schedule A was an IRS form United States taxpayers completed to itemize

 deductions, such as medical and dental expenses, various state taxes, mortgage interest, charitable

 contributions, and work-related expenses.

            8.    IRS Schedule C was an IRS form United States taxpayers completed to report any

 earnings or losses arising from any business or a profession as a sole proprietor.

            9.    IRS Form 2441 was an IRS form United States taxpayers used to claim a tax credit

 for child and dependent care expenses.

            10.   IRS Form 8863 was an IRS form United States taxpayers used to claim education

 credits, which are based on qualified education expenses paid to an eligible postsecondary

 educational institution.

            11.   Defendant SAMUEL MOMPOINT operated Prime Tax Services, Inc. as a tax

 return preparation business located in Miami-Dade County, Florida.




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          12.    SAMUEL MOMPOINT was authorized to act as an e-file provider, and the IRS

  issued EFIN number xxx243 and PTIN number Pxxxxx502 to MOMPOINT.

                                         COUNTS 1-17
        Aiding and Assisting in the Preparation and Presentation of Fraudulent Returns
                                      (26 u.s.c. § 7206(2))

          1.     Paragraphs 1 through 12 of the General Allegations Section of this Indictment are

  realleged and incorporated by reference as if fully set forth herein.

         2.      On or about the dates set forth as to each count, in Miami-Dade County, in the

  Southern District of Florida, and elsewhere, the defendant,

                                      SAMUEL MOMPOINT,

  did knowingly and willfully aid and assist in, and procure, counsel, and advise the preparation and

  presentation to the Internal Revenue Service, of a United States Individual Income Tax Return,

  Form 1040, for the tax year and taxpayer specified in each count below, which was false and

  fraudulent as to a material matter, in that it falsely represented that the taxpayer was entitled to

  receive the tax credit and deduction specified in each count below, whereas, as the defendant then

  and there well knew, the taxpayer was not entitled to receive the tax credit and deduction claimed

  thereon, as follows:




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   Count '. · Approx. Date    Taxpayer(s)       Tax.Year   Falsely Claimed Item(s) and
          .Tax Return Filed                                 Approx. Amou:pt Claimed

     1     January 20, 2015   R.M.&J.V.          2014        Gifts to Charity ($3,967);
                                                             Unreimbursed Employee
                                                           Expenses ($13,239); and Child
                                                           and Dependent Care Expenses
                                                                      ($3,600)
     2     January 26, 2015      J.C.            2014      Gifts to Charity ($1,261); and
                                                             Unreimbursed Employee
                                                                 Expenses ($9,992)
     3     January 28, 2015      N.H.            2014        Gifts to Charity ($2,824);
                                                             Unreimbursed Employee
                                                              Expenses ($9,057); and
                                                            Education Credits ($2,899)
     4     January 28, 2015      C.G.            2014        Child and Dependent Care
                                                              Expenses ($5,800); and
                                                            Education Credits ($6,021)
     5     January 31, 2015      D.J.            2014        Gifts to Charity ($2,362);
                                                             Unreimbursed Employee
                                                           Expenses ($6,344); and Child
                                                           and Dependent Care Expenses
                                                                      ($5,600)
     6     January 31, 2015      B.J.            2014        Gifts to Charity ($1,687);
                                                             Unreimbursed Employee
                                                              Expenses ($5,118); and
                                                            Education Credits ($4,000)
     7     January 31, 2015     A.G.&            2014        Unreimbursed Employee
                               P.M.L.G.                    Expenses ($9,338); and Child
                                                           and Dependent Care Expenses
                                                                      ($3,000)
     8     February 4, 2015      G.R.            2014       Education Credits ($2,478)

     9     February 7, 2015      M.F.            2014        Unreimbursed Employee
                                                             Expenses ($11,033); and
                                                            Education Credits ($3,864)
    10      March 17, 2015       A.G.            2014        Child and Dependent Care
                                                              Expenses ($3,200); and
                                                            Education Credits ($1,895)
    11     January 22, 2016      A.G.            2015        Child and Dependent Care
                                                                Expenses ($3,600)
    12     January 28, 2016      D.J.            2015        Gifts to Charity ($3,229);
                                                             Unreimbursed Employee
                                                           Expenses ($8,837); and Child
                                                           and Dependent Care Expenses
                                                                      ($5,600)

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           ..       ' ·- . .                                                          . .             .. .
                                  '
          13        February 2, 2016         G.R.                2015       Gifts to Charity ($1,624); and
                                                                              Unreimbursed Employee
                                                                                 Expenses ($10.411)
          14        February 3, 2016         B.J.                2015      Education Credits ($4,000); and
                                                                            Profit or Loss from Business
                                                                                       ($7,379)
          15       February 12, 2016        M .F.                2015        Education Credits ($5,684)

          16       Februruy 13, 2016       A.G.&                 2015        Unreimbursed Employee
                                          P.M .L.G.                        Expenses ($8,384); and Child
                                                                           and Dependent Care Expenses
                                                                                      ($3 ,000)
          17            March 9, 2016        S.A.                2015        Gifts to Charity ($2,669);
                                                                             Unreimbursed Employee
                                                                             Expenses ($10, 166); and
                                                                            Education Credits ($4 986)

                Tu. violation of Title 26, United States Code, Section 7206(2) and Title 18, United States

 Code, Section 2.




                                                                 A TRUEBILJ,



                                                                 FOREPER${>N


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 ARJANA FAJARDO ORSHAN
 UNITED STATES ATTORNEY




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                                                   UNITED STATES DISTRICT COURT
                                                  SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA                                           CASE NO._ _ _ _ _ _ _ _ _ _ _ _ _ __
 v.
                                                                   CERTIFICATE OF TRIAL ATTORNEY*
SAMUEL MOMPOINT,
                                                                   Superseding Case Information:
                                  Defendants.

Court Division:   (Select One)                                     New defendant(s)           Yes   No
 ✓     Miami                     Key West                          Number of new defendants
       FTL                       WPB            FTP                Total number of counts

        1.         I have carefully considered the allegations of the indictment, the number of defendants, the number of
                   probable witnesses and the legal complexities of the Indictment/Information attached hereto.
        2.        I am aware that the information supplied on this statement will be relied upon by the Judges of this
                  Court in setting their calendars and scheduling criminal trials under the mandate of the Speedy Trial
                  Act, Title 28 U.S.C. Section 3161.
        3.        Interpreter:    (Yes or No)             _N_o__
                  List language and/or dialect
        4.        This case will take _6_ days for the parties to try.
        5.        Please check appropriate category and type of offense listed below:

                  (Check only one)                                        (Check only one)


        I         0 to 5 days                                             Petty
                                                      ✓
        II        6 to 10 days                                            Minor
        III       11 to 20 days                                           Misdem.
        IV        21 to 60 days                                           Felony              ✓

        V         61 days and over
        6.          Has this case previously been filed in this District Court?    (Yes or No) No
            If yes: Judge                                     Case No.
            (Attach copy of dispositive order)
                                                                         --------------
            Has a complaint been filed in this matter?         (Yes or No)      No
            If yes: Magistrate Case No.
            Related miscellaneous numbers:
            Defendant(s) in federal custody as of
            Defendant(s) in state custody as of
            Rule 20 from the District of
            Is this a potential death penalty case? (Yes or No)

       7.         Does this case originate from a matter pending in the Central Region of the U.S. Attorney's Office
                  prior to August 9, 2013 (Mag. Judge Alicia 0. Valle)?           Yes              No    ✓


       8.         Does this case originate from a matter pending in the Northern Region of the U.S. Attorney's Office
                  prior to August 8, 2014 (Mag. Judge Shaniek Maynard)?           Yes             No     ✓


       9.         Does this case originate from a matter pending in the Central Region of the U.S. Attorney's Office
                  prior to October 3, 2019 (Mag. Judge Jared Strauss)?             Yes             No ✓

      10.         Does this case originate from a matter pending in the Southern Region of the U.S. Attorney's Office
                  prior to November 23, 2020 (Judge Aileen M. ~                                    No


                                                                           Eric E. Morales        -
                                                                           ASSISTANT UNITED STATES ATTORNEY
*Penalty Sheet(s) attached                                                 Florida Bar No. 1010791
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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                         PENALTY SHEET

 Defendant's Name: SAMUEL MOMPOINT

 Case No: - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

 Counts#: 1-17

 Aiding and Assisting in the Preparation and Presentation of Fraudulent Returns

 Title 26, U.S.C. § 7206(2)

 * Max.Penalty: 3 years' imprisornnent as to each count.
 *Refers only to possible term of incarceration, does not include possible fines, restitution, special
                  assessments, parole terms, or forfeitures that may be applicable.
